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LESLIE MARK STOVALL, ESQ.
Nevada Bar No. 2566

ROSS MOYNIHAN, ESQ.
Nevada Bar No. 11848

STOVALL & ASSOCIATES

2301 Palomino Lane

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Telephone: (702) 258-3034
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Attorney for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

KATHRYN MAYORGA, an individual Case No.: 2:19-cv-00168-JAD-DJA

Plaintiff,
vs.
CRISTIANO RONALDO, individually,

Does I-XX and Roe Corporations I-XX;
Defendants.

 

 

PLAINTIFF’S MOTION TO EXTEND TIME TO RESPOND

TO DEFENDANT’S MOTION TO SEAL [ECF 113]

(First Request)
COMES NOW Plaintiff, by and through her attorneys, STOVALL & ASSOCIATES, and

files this motion to extend time to respond to defendant’s motion to seal [ECF 113]. This is the
first request for an extension of time made to the court.

This motion is based upon the pleadings and papers on file herein, the memorandum of
points and authorities attached hereto, and any oral argument this Court may entertain should
there be a hearing on the motion.

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Mayorga v. Ronaldo
Motion to Extend time

Dated tris O day of June 2021.

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STOVALL & ASSOCIATES

 

 

/}
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DECLARATION OF PLAINTIFF’S COUNSEL IN SUPPORT OF

PLAINTIFF’S MOTION TO EXTEND TIME

LESLIE MARK STOVALL, declares and states as follows:

I am the attorney of record for the plaintiff in this case.

On May 27, 2021 the defense filed an emergency motion for case terminating

sanctions and to disqualify Stovall and Associates has counsel for the plaintiff

[ECF 112].

On May 27, 2021 the defense filed a motion to seal [ECF 113].

That on June 1, 2021 the court issued a minute order that response and reply

briefs are due in the ordinary course [ECF 114].

The plaintiff's responses to ECF 112 and ECF 113 are due on or before June 10,

2021 pursuant LR 7-2 (b).

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I am requesting an extension of time to file plaintiff's responses to ECF 112 and
ECF 113 because I have not been able to begin work on the responses since May
27, 2021 and I will not be able to start working on the responses until June20,
2021 for the following reasons:

a. I was preparing for the jury trial of Barcelon v. Landforce
Corp., case no. 2:18-cv-01493-GMN-NJK from May 17, 2021
until June 4, 2021 when it settled.

b. From June 5, 2021 thru June 11, 2021 I have been catching
up on work deferred from May 17, 2021 thru June 4, 2021,
including continuing the jury trials of Ware v. Hardy, case A-
18-786457 and Ramirez v. Lucky Lucy Casino, case A-18-
769806 in the Clark Co. District Court and preparing for the
jury trial of Droge v. AAAA Towing, case A-15-724188 in
Dept. 1 of the Clark Co. District Court commencing July 19,
2021.

c. Prior to the filing of the defense motions ECF 112 and ECF
113, I had scheduled and paid for a short vacation in Florida to
visit my family from June 12, 2021 thru June 19, 2021. This is
the first occasion that I have had to visit my family due to
Covid — 19 restrictions since last year.

The exhibits [ECF 111] filed in support of the defendant’s motion for terminating
sanctions [ECF 112] appear to be approx. 1500 pages. Based upon the allegations
set forth in the defense motions these exhibits and the “Football Leaks” document
require careful review and referencing to disclosures of documents attributable to
the defendant and the media prior to the filing of this lawsuit and thereafter, and
the disclosures by the plaintiff to law enforcement, the defendant and to the court
in this case.

On June 8, 2021 I requested by email defense counsel’s agreement to extend the
time for the filing of plaintiff's response, a copy of which is attached hereto as

Exhibit I and incorporated herein by reference.

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On June 8, 2021 the defendant’s counsel Kendelee Works responded to my

request stating:

Les,

Your request for an additional 25 days after your return from
vacation to oppose these motions, both of which are due on
June 10, 2021, not the 11th, is entirely unreasonable. I will
also note that given your trial case settled on 6/4, I presume
for the past six days you have not been preparing for trial on a
case that had resolved. As to the 1000’s of pages of exhibits,
those documents have all already been disclosed and are
primarily comprised of the LVMPD file that you indicated you
were reviewing in preparation for the Bongiovi depositions
last month, which then required you to continue those
depositions as well. Moreover, the LVMPD file consists
largely of your own client’s statements to the police and the
Football Leaks documents you provided to LVMPD years ago.
Your request also runs afoul of the court’s most recent orders
extending discovery and staying certain depositions and the

‘expert deadline.

In short, your request that we agree to afford you 7 weeks to
oppose two motions for which you would be allowed 2 weeks
to respond in the ordinary course, is unreasonable and not well
founded. If you have a more reasonable request, we are happy
to consider it and can be available for a meet and confer
tomorrow.

Please let us know how you wish to proceed.

(A copy of Ms. Works email is attached hereto as Exhibit 2 and
incorporated herein by reference).

I am requesting that the court extend the time for the filing of the plaintiffs
response to both EFC 112 to EFC 113 to July 20, 2021.

This motion is made in good faith and not for propose of unnecessary delay.
I declare under penalty of perjury under the laws of Nevada that the foregoing ig

true and correct.

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Motion to Extend time

  

DATED this [ray of June 2021.

  

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LESLIE MARK/STOVALL, ESQ.
|
MEMORANDUM OF POINTS AND AUTHORITIES \
FRCP 6(b) states:

When an act may or must be done within a specific time. The court may, for good cause,
extend the time:

(A) — with or without motion or notice if the courts acts, or if a request is made, before
the original time or its extension expires; or

(B) on motion made after the time has expired if the party failed to act because of
excusable neglect.

LRIAG6-1 states in pertinent part:

(a) A motion or stipulation to extend dime must state the reasons for the extension
requested and must inform the court of all previous extension of the subject
deadline the court granted.

(b) A stipulation or motion to seeking to extend the time to file an opposition or reply
to a motion, or to extend the time fixed for hearing a motion, must state in its
opening paragraph the filing date of the subject motion or the date of the subject
hearing.

Based upon the declaration of counsel, good cause exists for the extension of plaintiff s

time from June 10, 2021 to July 20, 2021 to respond to defendant’s motion to seal [ECF 113].
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DATED this ” day of June 2021.

 

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 10" day of June 2021, service of the foregoing
Plaintiff's Motion to Extend Time was made this date through the court’s electronic filing system!
to the following:
Christiansen Trial Lawyers
710 South 7th Street, Suite B
Las Vegas, NV 89101
Phone (702) 240-7979

Fax (866) 412-6992
Attorneys for the defendant

/s/ Maria Hernandez
An employee of STOVALL & ASSOCIATES

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